Case 1:21-cv-05316-NRM-TAM   Document 45-4   Filed 12/02/22   Page 1 of 32 PageID
                                  #: 1349




           EXHIBIT 2
Case 1:21-cv-05316-NRM-TAM    Document 45-4     Filed 12/02/22   Page 2 of 32 PageID
                                   #: 1350


                                                                       Page 1

 1
 2       UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF NEW YORK
 3       Civil Action No.: 1:21-cv-05316-DG-TAM
         -----------------------------------------x
 4       MARVEL CHARACTERS, INC.,
 5                              Plaintiff,
 6                        - against -
 7       NANCI SOLO and ERIK COLAN,
 8                              Defendant.
         -----------------------------------------x
 9       NANCI SOLO and ERIK COLAN,
10                              Counterclaimant,
11                           - against -
12       MARVEL CHARACTERS, INC. and DOES 1-10
         inclusive,
13
14                              Counterclaim-Defendants.
         -----------------------------------------x
15                                October 28, 2022
                                  8:11 a.m.
16
17                  VIDEOTAPED DEPOSITION of NANCI SOLO,
18      pursuant to Federal Rule of Civil Procedure
19      30, held at the offices of O'Melveny &
20      Myers LLP, located at 7 Times Square, New
21      York, New York 10036, before Anthony
22      Giarro, a Registered Professional Reporter,
23      a Certified Realtime Reporter and a Notary
24      Public of the State of New York.
25

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 3 of 32 PageID
                                  #: 1351


                                                                      Page 2

 1
 2       A P P E A R A N C E S :
 3
         O’MELVENY & MYERS LLP
 4        Attorneys for Marvel Characters, Inc.
          1999 Avenue of the Stars, 8th Floor
 5        Los Angeles, California 90067
          Telephone: (310) 553-6700
 6
         BY:        MOLLY M. LENS, ESQ.
 7                  mlens@omm.com
                    DANIELLE FEUER, ESQ.
 8                  dfeuer@omm.com
                    SALVATORE J. COCCHIARO, ESQ.
 9                  scocchiaro@omm.com
                    (via Zoom)
10                  MATTHEW KAISER, ESQ.
                    mkaiser@omm.com
11                  (via Zoom)
12
13
14
15       TOBEROFF & ASSOCIATES, P.C.
          Attorneys for Keith Dettwiler
16        23823 Malibu Road, Suite 50-363,
          Malibu, California 90265
17
         BY:        MARC TOBEROFF, ESQ.
18                  JAYMIE PARKKINEN, ESQ.
                    (via Zoom)
19
20
21       ALSO PRESENT:
22                           MARCELO RIVERA, Videographer
                             ELI BARD, Marvel
23                           (via Zoom)
24
25

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Case 1:21-cv-05316-NRM-TAM   Document 45-4        Filed 12/02/22   Page 4 of 32 PageID
                                  #: 1352


                                                                         Page 3

 1
 2                               S T I P U L A T I O N S
 3
 4                  IT IS HEREBY STIPULATED AND AGREED,
 5      by and among counsel for the respective
 6      parties hereto, that the filing, sealing
 7      and certification of the within deposition
 8      shall be and the same are hereby waived;
 9                  IT IS FURTHER STIPULATED AND AGREED
10      that all objections, except as to form of
11      the question, shall be reserved to the time
12      of the trial;
13                  IT IS FURTHER STIPULATED AND AGREED
14      that the within deposition may be signed
15      before any Notary Public with the same
16      force and effect as if signed and sworn to
17      before the Court.
18                    *      *           *
19
20
21
22
23
24
25

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Case 1:21-cv-05316-NRM-TAM    Document 45-4     Filed 12/02/22   Page 5 of 32 PageID
                                   #: 1353


                                                                     Page 74

 1                                     NANCI SOLO
 2              Q            And, again, you responded in
 3      the same exact manner; correct?
 4              A            Yes.
 5              Q            And is your response
 6      accurate, Ms. Solo?
 7              A            Yes.
 8              Q            And you say that in all of
 9      these responses, that you did a
10      reasonable inquiry?
11                           What inquiry did you make?
12              A            In terms of having any
13      documents?
14              Q            Or any information.
15              A            I looked through all of the
16      belongings, papers that I put away in a
17      couple of boxes that I have in the house
18      and even went through photographs that
19      were in a separate box and didn't come
20      across anything, like a document or
21      written proof of any kind about -- about
22      any of the girls or their father.
23              Q            Leaving --
24              A            Or his first wife.
25              Q            Leaving aside documents, Ms.

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Case 1:21-cv-05316-NRM-TAM    Document 45-4     Filed 12/02/22   Page 6 of 32 PageID
                                   #: 1354


                                                                     Page 75

 1                                     NANCI SOLO
 2      Solo, what about the information that you
 3      know as a result of being your father's
 4      child?
 5              A            What I know?
 6                           MR. TOBEROFF:             Vague.
 7              A            I know he had a first
 8      marriage.      I did not know that until I
 9      was an adult.          And I was told that there
10      were two girls that were then adopted
11      shortly after his divorce and that there
12      had been no contact.
13              Q            No contact between your
14      father and his first two children after
15      he divorced his first wife?
16              A            I just know that there were
17      two girls from that marriage.
18              Q            Who told you that?
19              A            My father did.
20              Q            And you knew that at the
21      time your father obviously told you that
22      he had two children with his first wife
23      who were adopted shortly after his
24      divorce; you knew that at the time that
25      you answered these requests for

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Case 1:21-cv-05316-NRM-TAM    Document 45-4     Filed 12/02/22   Page 7 of 32 PageID
                                   #: 1355


                                                                     Page 76

 1                                     NANCI SOLO
 2      admissions this year; correct?
 3              A            Yes.
 4              Q            So why did you not put your
 5      information in the request for admission?
 6                           MR. TOBEROFF:             Objection.
 7             You're asking a lay witness about a
 8             very legal document.
 9                           MS. LENS:         I disagree.
10                           MR. TOBEROFF:             I don't care.
11              A            I was asked for documents.
12      That was my understanding.                     That's what
13      was being requested.
14              Q            How did you -- I'm sorry.
15      Please continue.
16              A            That's all.
17              Q            How did you come to the
18      understanding that these requests for
19      admissions were asking you whether you
20      had documents?
21              A            By reading what was written
22      and requested.
23              Q            It says, "Admit that."
24                           It doesn't ask you, do you
25      have documents that prove that Jill

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Case 1:21-cv-05316-NRM-TAM    Document 45-4     Filed 12/02/22   Page 8 of 32 PageID
                                   #: 1356


                                                                     Page 77

 1                                     NANCI SOLO
 2      Kubicki is a biological child.                        It asks
 3      you to admit that fact.
 4              A            I never knew that to be a
 5      fact, honestly, didn't know that to be a
 6      fact.       The circumstances of my father's
 7      first marriage sounded actually terrible.
 8      And I remember learning of it and
 9      wondering how he had no contact with two
10      girls that he may have brought into the
11      world.       And he had no pictures.                     He had
12      nothing to show from it.
13                           And it actually struck me as
14      unusual and made me question whether or
15      not they were actually his.                        His love was
16      for his art.          And I guess it kind of made
17      me realize a thing about him that wasn't
18      great, like, or just questioned what was
19      that connection, really?                   Were they
20      really his?
21                           I just know that there were
22      two girls in that marriage.                        And the way
23      it ended, in his words, was extremely
24      swift.       And she very quickly remarried.
25      It was what she wanted.                  There was

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Case 1:21-cv-05316-NRM-TAM    Document 45-4     Filed 12/02/22   Page 9 of 32 PageID
                                   #: 1357


                                                                     Page 78

 1                                     NANCI SOLO
 2      financial insecurity already in that
 3      first marriage.           And she was highly
 4      motivated to bring somebody else into her
 5      life that would be able to financially
 6      support them.          So biological
 7      conversation, things like that, that
 8      wasn't part of what was discussed.
 9              Q            Well, your father told you
10      that he had two children with his first
11      wife?
12              A            He said that there were two
13      girls with his first wife.                     And he had no
14      details, no pictures, no memories to
15      share with me about it.                  He was very much
16      married to his work and remained so and
17      kind of removed from family -- family
18      interactions in general.
19              Q            Including with you and your
20      brother?
21              A            He was always present.                   But
22      he was always working.
23              Q            And so, to your
24      understanding, your father essentially
25      abandoned his first two children from his

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Case 1:21-cv-05316-NRM-TAM   Document 45-4        Filed 12/02/22   Page 10 of 32 PageID
                                   #: 1358


                                                                        Page 79

  1                                       NANCI SOLO
  2      first marriage?
  3                          MR. TOBEROFF:                Assumes
  4             facts.
  5              A           No.      It sounded like it was
  6      a forced situation that his first wife
  7      initiated.        He's not one to leave.
  8              Q           Why don't you tell me, to
  9      the best of your recollection, what
 10      exactly your father told you about the
 11      first two children that he had in his
 12      first marriage.
 13              A           Really nothing.                  He told me
 14      nothing.        I wanted information.                     He had
 15      nothing to tell me.
 16              Q           You've since been in contact
 17      with your half siblings, have you not?
 18                          MR. TOBEROFF:                Assumes
 19             facts.
 20                          THE WITNESS:               Yeah.
 21              A           We met a couple of times.
 22              Q           So that's a yes?                  You met
 23      your half siblings; yes?
 24              A           I met them a couple of
 25      times, yes.

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 11 of 32 PageID
                                   #: 1359


                                                                     Page 80

  1                                    NANCI SOLO
  2              Q           And that is Jill Kubicki and
  3      Valerie Waldman?
  4              A           Yes.
  5              Q           And they shared your
  6      understanding that they were Gene Colan's
  7      biological children from his first
  8      marriage; correct?
  9                          MR. TOBEROFF:             Misstates her
 10             testimony.
 11              A           He was the father role.                   I
 12      don't even know, really, what more I can
 13      say about his being their biological.
 14      But he was their father role.                     And he
 15      then lost that.            Actually before the
 16      divorce, his first wife made it
 17      impossible for him to see them, turned
 18      them against him.            That was his words.
 19      And he couldn't fight it.                   So he didn't.
 20              Q           So it was your understanding
 21      that your father Gene Colan wanted to
 22      stay involved in Valerie Waldman's and
 23      Jill Kabuki's lives, but their mother
 24      Sally prevented him from doing so; that
 25      was your understanding from your father?

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 12 of 32 PageID
                                   #: 1360


                                                                     Page 81

  1                                    NANCI SOLO
  2              A           My understanding was just
  3      that he was not able to see them, that it
  4      was always problematic and very upsetting
  5      to not only him, but the girls, that very
  6      shortly after the divorce, his first wife
  7      remarried, and he was asked to -- he
  8      signed legal documents for her second
  9      husband to legally adopt those girls.
 10              Q           So your understanding from
 11      your father is that his ex-wife Sally
 12      remarried a man named Norman Bruce and
 13      that after that remarriage, your father
 14      consented to have Norman adopt the
 15      children?
 16              A           Yes.
 17                          MR. TOBEROFF:             I think you
 18             said Bruce.         It's Brust.
 19              Q           You have no basis to believe
 20      that Sally, his first wife, had an
 21      affair?     You're not suggesting that, are
 22      you, Ms. Solo?
 23              A           I just don't know.
 24              Q           But you have no basis to
 25      suggest that she had an affair, do you?

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 13 of 32 PageID
                                   #: 1361


                                                                     Page 82

  1                                    NANCI SOLO
  2              A           I have no basis either way.
  3              Q           Let me ask it this way.
  4                          You have no basis to suggest
  5      that -- what facts, if any, do you have
  6      to suggest that his first wife had an
  7      affair?     Are you making that suggestion
  8      on the record under oath?
  9                          MR. TOBEROFF:             You could
 10             answer.
 11              A           I just don't know.                 I just
 12      don't know what I don't know.                     And I
 13      don't know that.
 14              Q           Have you read the book
 15      Secrets in the Shadows about your father?
 16              A           I may have.           I don't know.
 17      Was that one of the books?
 18              Q           We'll see if we could
 19      refresh your recollection.                    It's actually
 20      a book that you produced in this case.
 21      It's Exhibit 58, a copy of the book,
 22      Secret in the Shadows.
 23                          (The above-referred-to
 24             document was marked as Exhibit 58 for
 25             identification, as of this date.)

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Case 1:21-cv-05316-NRM-TAM   Document 45-4        Filed 12/02/22   Page 14 of 32 PageID
                                   #: 1362


                                                                        Page 83

  1                                       NANCI SOLO
  2              Q           Which is Bates Stamped
  3      COLAN99.       Full title of the book is
  4      Secret in the Shadows, the Art and Life
  5      of Gene Colan by Tom Field.
  6                          Now, it's obviously a
  7      photocopy of a book.                 But this is the way
  8      that you produced it in the case.
  9                          Does this refresh your
 10      recollection that you've read this book?
 11              A           No.      I just don't know.
 12              Q           Well, you said earlier, I
 13      believe, that you were interested in
 14      learning more about your father's earlier
 15      life?
 16              A           Yes.
 17              Q           And so did you make it your
 18      practice to read if there had been an
 19      entire book published about his life?                              Do
 20      you think you would have read it?
 21              A           Yes.       I believe I would
 22      have.       I just don't know that I have or
 23      that I -- I just don't remember.
 24              Q           And given that this book was
 25      produced by you -- and I'll represent to

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Case 1:21-cv-05316-NRM-TAM   Document 45-4        Filed 12/02/22   Page 15 of 32 PageID
                                   #: 1363


                                                                        Page 84

  1                                       NANCI SOLO
  2      you that you're shown as the custodian of
  3      the document, meaning it came from your
  4      own files -- you wouldn't have a book
  5      about your father at your house that you
  6      hadn't read, would you?
  7              A           No.
  8                          MR. TOBEROFF:
  9                          Argumentative.
 10              A           I mean I would have read it
 11      at some point.
 12              Q           So let's turn to page --
 13      well, it's page 55 of the book itself and
 14      COLAN116.      Well, let's look at page 54
 15      first which is the left-hand side of the
 16      page.
 17                          Do you see that it
 18      reads, "Gene and Sally did, indeed,
 19      marry.      And they settled down in an
 20      apartment in Bronxville.                     And before
 21      long, they were the parents of two young
 22      girls, Valerie and Jill, born in 1954 and
 23      1957, respectively."
 24                          Do you see that?
 25              A           Yes.

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Case 1:21-cv-05316-NRM-TAM   Document 45-4        Filed 12/02/22   Page 16 of 32 PageID
                                   #: 1364


                                                                        Page 85

  1                                       NANCI SOLO
  2              Q           Now that you've seen that,
  3      do you recall reading that in this book,
  4      Secrets in the Shadows?
  5              A           No.      But I --
  6                          MR. TOBEROFF:                Just --
  7                          THE WITNESS:               Yeah.
  8              Q           I'm sorry.
  9                          What were you going to say
 10      before your attorney cut you off?
 11                          MR. TOBEROFF:                I didn't say
 12             anything.
 13                          MS. LENS:            You did.
 14                          MR. TOBEROFF:                I was going
 15             to.   And I didn't.               So don't
 16             misrepresent.
 17                          MS. LENS:            It's interesting
 18             because the record picked it up,
 19             Mr. Toberoff.
 20              A           I don't recall reading that
 21      highlighted part.              But that picture looks
 22      familiar to me.
 23              Q           And you're looking at the
 24      picture on the next page which shows a
 25      picture of two little girls in a bathtub.

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Case 1:21-cv-05316-NRM-TAM   Document 45-4        Filed 12/02/22   Page 17 of 32 PageID
                                   #: 1365


                                                                        Page 86

  1                                       NANCI SOLO
  2      And it's entitled First Born, Colan's
  3      Daughters, Valerie and Jill, from his
  4      first marriage, Circa 1958; right?
  5              A           I see that.
  6              Q           And this book, Secret in the
  7      Shadows, was a book that your parents
  8      participated in the writing of; right?
  9                          MR. TOBEROFF:                Assumes
 10             facts, lacks foundation.
 11              Q           You nodded yes; correct?
 12              A           I don't know for a fact that
 13      they participated in it.
 14              Q           You don't recall your
 15      parents telling you that they were
 16      working with Tom Field on this book, on
 17      your father's life?
 18              A           No.      I don't recall that.
 19              Q           And you see on the first
 20      tab, on page 5 of the book, Bates Stamped
 21      COLAN101, you can see that the author
 22      thanks Adrienne and Gene Colan for
 23      opening their archives, their lives and
 24      their hearts to him?
 25              A           I see that.

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 18 of 32 PageID
                                   #: 1366


                                                                     Page 87

  1                                    NANCI SOLO
  2              Q           Does that help refresh your
  3      recollection that your parents
  4      participated in the creation of this book
  5      about your father?
  6                          MR. TOBEROFF:             Lacks
  7             foundation, assumes facts.
  8              A           I just don't recall their
  9      participation.
 10              Q           Do you recall that your
 11      mother gave an interview for the purposes
 12      of this book?
 13              A           I don't recall their
 14      participation in this interview
 15      personally.
 16              Q           We're going to get one of
 17      the videos back up.
 18                          Could we borrow Exhibit 38
 19      from you, just the CD?                We need to play
 20      the CD again.
 21                          (Whereupon, at this time, a
 22      video was played.)
 23              Q           So you saw in this
 24      interview, your father was discussing the
 25      Secret in the Shadows book, the same book

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 19 of 32 PageID
                                   #: 1367


                                                                     Page 88

  1                                    NANCI SOLO
  2      that we've marked as Exhibit 58?
  3              A           Yes.
  4              Q           And you see that he agreed
  5      that it told all about his life; correct?
  6                          MR. TOBEROFF:             Okay -- okay.
  7              A           I don't really know that
  8      that's what he said.              Is that what he
  9      said?       I don't know if that's what he
 10      said.
 11              Q           Well, you could look at the
 12      certified transcript, if you want, which
 13      is Exhibit 39, which is in front of you,
 14      or we could have it played again.                        It's
 15      not a trick question.
 16                          MR. TOBEROFF:             Replay that
 17             portion about the book again.
 18                          MS. LENS:         Sure.       You also
 19             have the transcript if you would like
 20             to follow along.
 21                          MR. TOBEROFF:             That looks
 22             like a different cover.
 23                          MS. LENS:         Don't.
 24                          (Whereupon, at this time, a
 25             video was played.)

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 20 of 32 PageID
                                   #: 1368


                                                                     Page 89

  1                                    NANCI SOLO
  2              A           Yes.
  3              Q           So you would agree with me
  4      that your father agreed that the book,
  5      Secret in the Shadows by Tom Field, tells
  6      all about his life; correct?
  7                          MR. TOBEROFF:             Misstates the
  8             record.
  9                          MS. LENS:         It doesn't.
 10              Q           You can answer, Ms. Solo.
 11              A           He agreed that the book told
 12      his story.
 13              Q           And, in fact, the
 14      interviewer asked him again:
 15                          "QUESTION:          And this tells
 16             your entire history?
 17                          "ANSWER:        Gene Colan:
 18             Everything.
 19                          "QUESTION:          It's a really
 20             terrific book?
 21                          "ANSWER:        Gene Colan, yes."
 22              Q           You heard that; correct?
 23              A           Yes.
 24              Q           Let's go back to Exhibit 57,
 25      please, which is your answers to the

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 21 of 32 PageID
                                   #: 1369


                                                                     Page 90

  1                                    NANCI SOLO
  2      requests for admission.
  3                          If we can turn to Request
  4      for Admission 7, you see that request for
  5      admission asked you to admit that Gene
  6      Colan had four biological children.                         Do
  7      you see that?
  8              A           Yes.
  9              Q           And you answered that you
 10      don't currently possess any documents
 11      that address this subject and that the
 12      information is not within the present
 13      knowledge of defendants' agents and that
 14      after reasonable inquiry, the information
 15      that you know or can reasonably obtain is
 16      insufficient to enable to fully admit or
 17      deny this request.            Notwithstanding the
 18      above, defendant admits that Gene Colan
 19      had two biological children.
 20                          And you identified yourself
 21      and your brother, Erik Colan, and then as
 22      to the remainder of the request, you
 23      denied it.      You see that?
 24              A           Yes.
 25              Q           And do you believe that's

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 22 of 32 PageID
                                   #: 1370


                                                                     Page 91

  1                                    NANCI SOLO
  2      accurate?
  3              A           Yes.
  4              Q           How do you know that you're
  5      the biological child of Gene Colan?
  6              A           I have a birth certificate.
  7      I think we're the same blood type.                         No.
  8      I don't have any reason to believe
  9      otherwise.      I look like him and his
 10      mother.
 11              Q           He told you that he was your
 12      father; correct?
 13              A           Yes.
 14              Q           Just like he told you that
 15      he was the father of the children from
 16      his first marriage; correct?
 17              A           There were two girls from
 18      his first marriage.             That's the way I
 19      understood it, that there were two girls
 20      from his first marriage.                  I don't know
 21      that they were biological.                    I just know
 22      that there were two girls from the first
 23      marriage, that they were very young, and
 24      they were adopted very shortly after they
 25      divorced.      And that's the extent of what

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22    Page 23 of 32 PageID
                                   #: 1371


                                                                      Page 92

  1                                    NANCI SOLO
  2      I know.
  3              Q           Ms. Solo, I don't want
  4      belabor this point.
  5                          But is it your testimony
  6      that your father didn't tell you that he
  7      was the father of those two girls from
  8      his first marriage?             He told you that he
  9      was their father, did he not?
 10                          MR. TOBEROFF:
 11                          Argumentative, asked and
 12             answered.
 13              A           He said that there were two
 14      girls from his first marriage.
 15              Q           Your father understood that
 16      he was their father, did he not?                         That's
 17      why --
 18              A           I don't know.             I don't know.
 19              Q           Do you consider -- when you
 20      met them, did you consider Valerie and
 21      Jill to be your half sisters?
 22              A           I embraced these two girls
 23      that were part of his first marriage as
 24      my parents did.         And biology didn't
 25      really come into the equation.                         It seemed

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 24 of 32 PageID
                                   #: 1372


                                                                     Page 93

  1                                    NANCI SOLO
  2      like a very strained and strange parting
  3      of a female that I never really got
  4      adequate details about.
  5              Q           Do you have any
  6      understanding if Gene Colan, your father,
  7      wasn't the biological father of Jill and
  8      Valerie, why he would have to consent to
  9      their adoption?
 10                          MR. TOBEROFF:             Calls for a
 11             legal conclusion.
 12              A           Just based on that
 13      information, it would seem that he felt
 14      legally responsible for them at the time,
 15      but not necessarily their biological
 16      father, just that he was legally
 17      responsible for them at the time.
 18              Q           Just to be clear, Ms. Solo,
 19      did your father ever tell you that he
 20      wasn't the biological father of Valerie
 21      and Jill?
 22              A           We never had a conversation
 23      about biological.
 24              Q           So the answer -- your father
 25      never told you or suggested that he

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 25 of 32 PageID
                                   #: 1373


                                                                     Page 94

  1                                    NANCI SOLO
  2      wasn't the biological father of Jill and
  3      Valerie; isn't that true?
  4              A           I don't recall him saying
  5      anything like that.
  6              Q           Thank you.
  7                          When you met Valerie and
  8      Jill, did you meet Valerie's child
  9      Rachel?
 10              A           One time when -- one of the
 11      two times I saw her, Valerie was in town
 12      and so was her daughter.                  And I met her
 13      briefly.
 14              Q           Her daughter Rachel Waldman;
 15      is that correct?
 16              A           Yes.
 17              Q           Are you aware that Valerie
 18      Waldman has passed away?
 19              A           Yes.
 20              Q           And you're aware that
 21      Valerie's child Rachel Waldman is still
 22      living; correct?
 23              A           I don't know.
 24              Q           You don't know, one way or
 25      the other?

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 26 of 32 PageID
                                   #: 1374


                                                                     Page 95

  1                                    NANCI SOLO
  2              A           Correct.
  3              Q           When your father passed
  4      away, did you reach out to Valerie and
  5      Jill to let them know that?
  6              A           I don't recall.               But -- I
  7      don't recall reaching out.                    But I
  8      remember Val being at his funeral.
  9              Q           How did you introduce Val to
 10      anyone?     Did you introduce Valerie to
 11      anybody at the funeral?
 12              A           I don't recall what
 13      introductions I made on that day.
 14              Q           Do you recall that you --
 15      that Valerie -- strike that.
 16                          Do you recall that both
 17      Valerie and Jill had to submit waivers in
 18      order for you to be able to be appointed
 19      the administrator or the executor of your
 20      father's estate?
 21              A           Yes.
 22              Q           And that was because they
 23      were children of Gene Colan; correct?
 24                          MR. TOBEROFF:             Calls for a
 25             legal conclusion.            You could answer.

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 27 of 32 PageID
                                   #: 1375


                                                                      Page 96

  1                                    NANCI SOLO
  2              A           They were daughters in his
  3      first marriage.
  4              Q           Do you recall that you
  5      affirmed under oath that Valerie and
  6      Jill -- Valerie Waldman and Jill Kubicki
  7      were the daughters of Gene Colan when you
  8      applied to be appointed the administrator
  9      or executor of your father's estate?
 10              A           I just recall that they were
 11      two girls from his first marriage, and
 12      that is what brought them into that as a
 13      result of there being an issue with his
 14      will.
 15                          MS. LENS:         Could I have the
 16             question read back, please?                     I'm
 17             going to move to strike as
 18             non-responsive.
 19                          (The requested portion was
 20             read back by the court reporter.)
 21                          MR. TOBEROFF:             Asked and
 22             answered.      You could answer again.
 23              A           I just don't remember it in
 24      that way.      I recall that he had two
 25      daughters from his first marriage.                           And

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 28 of 32 PageID
                                   #: 1376


                                                                     Page 97

  1                                    NANCI SOLO
  2      therefore, they had to be included in
  3      whatever happens when a will has to go
  4      into probate or something like that.
  5      Something like that happened.                     And a will
  6      was considered invalid.                 And we needed
  7      their signatures because he at one time
  8      was their legal parent, father.
  9              Q           Do you have a copy of your
 10      father's will that was declared to be
 11      invalid?
 12              A           I don't know.
 13              Q           Do you have an understanding
 14      of why it was declared to be invalid?
 15              A           Yes.
 16              Q           What is that?
 17              A           I recall the lawyer asking
 18      me to send him a copy.
 19                          MR. TOBEROFF:             Don't -- I'm
 20             just advising you.             I don't know if
 21             you're about to.           But if you had a
 22             lawyer, don't testify as to your
 23             conversations with a lawyer.
 24                          THE WITNESS:            Okay.
 25                          MR. TOBEROFF:             Or anything

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 29 of 32 PageID
                                   #: 1377


                                                                     Page 98

  1                                    NANCI SOLO
  2             you learned from the lawyer.
  3              A           It was deemed invalid
  4      because a staple was removed.                      That's
  5      what I was told.
  6              Q           Who were the beneficiaries
  7      in your father's will that was deemed
  8      invalid?
  9              A           My mother who was alive at
 10      the time, myself and my brother and then
 11      Valerie, her two children, she had two,
 12      one has passed, Jill and my three
 13      children.
 14              Q           Did you tell Jill and
 15      Valerie that they, as well as Valerie's
 16      children, were named in your father's
 17      will?
 18              A           I don't recall.               But I would
 19      have no reason not to tell her.
 20              Q           Did the will describe your
 21      father's relation to Valerie and Jill?
 22              A           I don't recall.
 23                          MS. LENS:         Marc, I think
 24             we've already requested it.                     But to
 25             be clear, we need a copy of the will,

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 30 of 32 PageID
                                   #: 1378


                                                                    Page 159

  1                                    NANCI SOLO
  2      electronic signature on behalf of you and
  3      your brother.
  4                          So if we look at the
  5      highlighted portion on page 4, you can
  6      see that Mr. Toberoff
  7      writes, "Defendants -- meaning you and
  8      your brother -- were, thus, surprised by
  9      Marvel's assertions in its letter
 10      regarding two children, Valerie, now
 11      deceased, and Jill, Gene Colan had with
 12      his first wife Sally after the couple's
 13      divorce decades ago.              Sally renamed
 14      Norman Brust, who legally adopted Valerie
 15      and Jill in New York.               This legal
 16      adoption vitiated Valerie and Jill's
 17      status as Gene Colan's children and with
 18      it, any interests under the act's
 19      termination provisions."                  Do you see
 20      that?
 21              A           I do.
 22              Q           And did you provide that
 23      information to Mr. Toberoff?
 24                          MR. TOBEROFF:             Vague.
 25              A           I provided the information

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Case 1:21-cv-05316-NRM-TAM   Document 45-4        Filed 12/02/22   Page 31 of 32 PageID
                                   #: 1379


                                                                       Page 160

  1                                       NANCI SOLO
  2      that I know, what I actually know.
  3              Q           And you are not taking the
  4      position that Mr. Toberoff's
  5      representations to the court on your
  6      behalf are inaccurate, are you?
  7                          MR. TOBEROFF:                Lacks
  8             foundation.         You could answer.
  9              A           No.
 10              Q           Ms. Solo, you understand
 11      that -- do you understand that Marvel
 12      commenced this lawsuit after you and your
 13      brother caused purported termination
 14      notices to be served on it?
 15              A           Yes.
 16              Q           And do you understand that
 17      Marvel did so to have the court declare
 18      that the termination notices that you
 19      served were invalid; correct?
 20              A           Say that again.
 21              Q           It wasn't a very good
 22      question.      I'll try it again.
 23                          Do you understand that
 24      Marvel's complaint that was filed against
 25      you and your brother seeks to have the

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Case 1:21-cv-05316-NRM-TAM   Document 45-4     Filed 12/02/22   Page 32 of 32 PageID
                                   #: 1380


                                                                    Page 179

  1
  2                           C E R T I F I C A T I O N
  3
  4
  5                  I, ANTHONY GIARRO, a Shorthand
  6      Reporter and a Notary Public, do hereby
  7      certify that the foregoing witness, NANCI
  8      SOLO, was duly sworn on the date indicated,
  9      and that the foregoing, to the best of my
 10      ability, is a true and accurate
 11      transcription of my stenographic notes.
 12                  I further certify that I am not
 13      employed by nor related to any party to
 14      this action.
 15
 16
 17                                        <%5259,Signature%>
                                         ____________________
 18                                          ANTHONY GIARRO
 19
 20
 21
 22
 23
 24
 25

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